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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
 __________________________________

 THE SATANIC TEMPLE, INC.

               Plaintiff
                                                    Case No. 1:22-cv-1859-JMS-MG
        v.

 TODD ROKITA, in his
 capacity as the Attorney General of
 Indiana and
 RYAN MEARS, in his capacity as
 Marion County Prosecutor

             Defendants
 __________________________________

                        ORDER TO MAINTAIN DOCUMENT
                   UNDER SEAL PURSUANT TO LOCAL RULE 5-11(d)

        Upon Plaintiff’s motion, with Defendants’ consent, and for good cause shown it is hereby

 ORDERED

        The document filed as ECF No. 46 is and shall remain sealed.

 June ___, 2023

                                            _____________________
